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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


                                     21-80178-Cr-Marra/Matthewman
                           Case No. _ _ _ _ _ _ _ _ _ _ __

                                                                                          TM
 IN RE: SEALED INDICTMENT
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                                                                                             West Palm Beach
                                        SEALING ORDER

        THIS CAUSE is before the Court on the Government's Motion to Seal.           The Court being

 advised in its premises, and good cause having been shown, it is hereby

        ORDERED AND ADJUDGED that the motion is GRANTED, and the Clerk of Court

 shall seal the Indictment returned in this matter until the first defendant is arrested, at which time

 it shall be deemed unsealed, or until further Order of the Court.

         DONE AND ORDERED in Chambers at West Palm Beach, Florida, this 4th day of

 November, 2021.




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                                                BRUCE E. REINHART
                                                UNITED STATES MAGISTRATE JUDGE




  cc: AUSA John C. McMillan
